              Case 2:09-cr-00224-WBS Document 24 Filed 10/02/09 Page 1 of 1


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     JUAN BERNARDO RODRIGUEZ
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,             )   NO. CR.S. 09-00224-WBS
 9                                         )
                        Plaintiff,         )
10                                         )   ORDER RE: CONTINUANCE OF STATUS
                  v.                       )   HEARING AND FINDINGS OF
11                                         )   EXCLUDABLE TIME
                                           )
12   JORGE ALVAREZ ALVAREZ, et al.,        )   DATE: November 16, 2009
                                           )   TIME: 8:30 a.m.
13                      Defendants.        )   JUDGE: Hon. William B. Shubb
                                           )
14   _______________________________
15                                    ORDER AND FINDINGS
16          The new status conference is set for November 16, 2009, at 8:30
17   a.m.   The court finds that the interests of justice are best served and
18   the public interest is protected by granting the continuance in the
19   above-captioned matter.       Accordingly, time is excluded from the date of
20   this order through November 16, 2009, in computing the time within
21   which trial must commence under the Speedy Trial Act, pursuant to Title
22   18 U.S.C. §3161(h)(7)(B)(iv) and Local Code T4. [reasonable time to
23   prepare.]
24   DATED:    October 1, 2009
25
26
27
28



                                               3
